Case: 2:24-cv-00072-DCR-CJS Doc #: 21-2 Filed: 05/03/24 Page: 1 of 2 - Page ID#:
                                    1030



               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF KENTUCKY
                       COVINGTON DIVISION


State of Tennessee; Commonwealth
of Kentucky; State of Ohio; State of
Indiana; Commonwealth of
Virginia; and State of West Virginia,

             Plaintiffs,

and

Christian Educators Association            Case No. 2:24-cv-00072-DLB-CJS
International; A.C., by her next friend
and mother, Abigail Cross,

    Proposed Intervenor-Plaintiffs,

       v.

Miguel Cardona, in his official
capacity as Secretary of Education; and
United States Department of
Education,

            Defendants.


             ORDER GRANTING INTERVENOR-PLAINTIFFS’
                           MOTION TO INTERVENE
Case: 2:24-cv-00072-DCR-CJS Doc #: 21-2 Filed: 05/03/24 Page: 2 of 2 - Page ID#:
                                    1031



      This matter is before the Court on Intervenor-Plaintiffs’ Motion to Intervene.

The Court, having reviewed the motion and related pleadings and materials and

being otherwise sufficiently advised finds as follows:

      The Intervenors are entitled to intervene as of right under Federal Rule of

Civil Procedure 24(a) because (1) their motion to intervene is timely; (2) they have

substantial legal interests at stake in this case; (3) their substantial interests would
be impaired if they were prohibited from intervening; and (4) the existing parties do

not adequately represent Intervenors’ interests.

      The Court alternatively exercises its discretion to permit Intervenors to

intervene under Federal Rule of Civil Procedure 24(b) because (1) their motion to

intervene is timely; (2) their claims share common questions of law and fact; and (3)

their intervention will not cause undue delay or prejudice to the existing parties.

      For these reasons,

      IT IS HEREBY ORDERED that Intervenor-Plaintiffs’ Motion to Intervene is

GRANTED.


      SO ORDERED.




                                           2
